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				IN RE: AMENDMENT OF RULE 5 OF RULES GOVERNING ADMISSION TO PRACTICE OF LAW2016 OK 29Case Number: SCBD-6349Decided: 03/07/2016THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2016 OK 29, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 

IN RE: AMENDMENT OF RULE 5 OF THE RULES GOVERNING ADMISSION TO THE PRACTICE OF LAW, 5 O.S. Supp. 2015, ch. 1, app. 5
ORDER
Rule 5 of The Rules Governing Admission to the Practice of Law in the State of Oklahoma, attached hereto, is hereby amended, effective June 1, 2016.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 7th day of March, 2016.
/S/CHIEF JUSTICE
ALL JUSTICES CONCUR

&nbsp;
Rules Governing Admission to the Practice of Law in the State of Oklahoma
Chapter 1, App. 5
Rule 5. Examination.
All applicants for admission by examination who shall have attained a grade of at least 75 in the subject of Oklahoma Rules of Professional Conduct and who shall attain an average grade of at least 75 on the examination given by the Board of Bar Examiners covering The Multistate Bar Examination (MBE) and combinations of the subjects hereinafter specified, and who are otherwise qualified under these Rules, shall be recommended by the Board of Bar Examiners for admission to the practice of law in this state.
All applicants for admission by examination who:
A) shall have attained a grade of at least 75% in the subject of Oklahoma Rules of Professional Conduct;
B) shall have attained an average grade of at least 75% on the examination given by the Board of Bar Examiners covering combinations of the subjects hereinafter specified; 
The following examination shall cover combinations of the following subjects:
1. Oklahoma Rules of Professional Conduct
2. Commercial Law, which may include:
(a) Contracts
(b) Uniform Commercial Code
(c) Consumer Law
(d) Creditor's rights, including bankruptcy
3. Property
4. Procedural Law, which may include:
(a) Pleadings
(b) Practice
(c) Evidence
(d) Remedies (damages, restitution and equity)
5. Criminal Law
6. Business Associations, which may include:
(a) Agency
(b) Partnerships (including joint ventures)
(c) Corporations
(d) Limited Liability Companies
7. Constitutional and Administrative Law
8. Torts
9. Intestate Succession, wills, trusts, estate planning, including federal estate and gift taxation
10. Conflicts of law
11. Family law
C) shall have attained a satisfactory score on The Multistate Bar Examination (MBE); and 
D) are otherwise qualified under these rules
shall be recommended by the Board of Bar Examiners for admission to the practice of law in this state.
Any applicant who is otherwise qualified to be recommended for admission to the Bar except by reason of failure to pass satisfactorily the section of the Oklahoma Bar Examination concerning the Oklahoma Rules of Professional Conduct shall be eligible for re-examination on the subject Oklahoma Rules of Professional Conduct. Such re-examination shall be conducted by the Board at a time and place to be fixed by the Board and may be written or oral or both. If, upon such reexamination, the applicant receives a satisfactory grade in the subject Oklahoma Rules of Professional Conduct and is found by the Board to have otherwise qualified to be recommended for admission to the Bar, such applicant shall thereupon be so recommended. Any applicant who fails to receive a satisfactory grade upon such reexamination shall be required to reapply for permission to take a further examination concerning the Oklahoma Rules of Professional Conduct, which may be given at the discretion of the Board.
The following examination shall cover combinations of the following subjects:
1. Oklahoma Rules of Professional Conduct
2. Commercial Law, which may include:
(a) Contracts
(b) Uniform Commercial Code
(c) Consumer Law
(d) Creditor's rights, including bankruptcy
3. Property
4. Procedural Law, which may include:
(a) Pleadings
(b) Practice
(c) Evidence
(d) Remedies (damages, restitution and equity)
5. Criminal Law
6. Business Associations, which may include:
(a) Agency
(b) Partnerships (including joint ventures)
(c) Corporations
(d) Limited Liability Companies
7. Constitutional and Administrative Law
8. Torts
9. Intestate Succession, wills, trusts, estate planning, including federal estate and gift taxation
10. Conflicts of law
11. Family law
There shall be held two bar examinations each year, at dates, times, places and duration to be prescribed by the Board of Bar Examiners.




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